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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    Trinity Plumbing, LLC

2.    All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          4      6      –      3      9        0    4         5   3     0

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       PO Box 3251
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Cedar Park                          TX       78630
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Williamson                                                      from principal place of business
                                       County

                                                                                                       Roger Gonzalez
                                                                                                       Number     Street

                                                                                                       2230 CR 274

                                                                                                       Bertram                       TX      78605
                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Trinity Plumbing, LLC                                                               Case number (if known)

7.    Describe debtor's business        A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes

                                              2      3      8      2

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
      A debtor who is a "small               Chapter 11. Check all that apply:
      business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
      the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
      debtor") must check the second
      sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                                OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                                sheet, statement of operations, cash-flow statement, and federal income tax
                                                                return, or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                                form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                Rule 12b-2.

                                             Chapter 12




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Debtor Trinity Plumbing, LLC                                                               Case number (if known)

9.    Were prior bankruptcy                  No
      cases filed by or against
      the debtor within the last 8           Yes. District                                        When                    Case number
      years?                                                                                             MM / DD / YYYY
                                                  District                                        When                    Case number
      If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
      separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.




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Debtor Trinity Plumbing, LLC                                                      Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




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Debtor Trinity Plumbing, LLC                                                             Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 09/28/2023
                                                      MM / DD / YYYY



                                          X /s/ Valerie Garza
                                              Signature of authorized representative of debtor
                                              Valerie Garza
                                              Printed name
                                              Managing Member
                                              Title

18. Signature of attorney                X /s/ Michael J OConnor                                                  Date   09/28/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Michael J OConnor
                                            Printed name
                                            Michael J OConnor, Attorney
                                            Firm name
                                            The Spectrum Building
                                            Number          Street
                                            613 NW Loop 410, Ste. 840

                                            San Antonio                                                TX                 78216
                                            City                                                       State              ZIP Code


                                            (210) 729-6009                                             oconnorlaw@gmail.com
                                            Contact phone                                              Email address
                                            15187400                                                   TX
                                            Bar number                                                 State




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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   Trinity Plumbing, LLC                                                  CASE NO

                                                                                 CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/28/2023                                          Signature   /s/ Valerie Garza
                                                                    Valerie Garza
                                                                    Managing Member




Date                                                    Signature
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                           8X8
                           675 Creekside Way
                           Campbell, CA 95008



                           AT&T Bankruptcy
                           4331 Communications Dr.
                           Flw 4W
                           Dallas, TX 75211


                           Central Texas Refuse
                           PO Box 18685
                           Austin, TX 78760



                           Cray Networks
                           2407 Bagdad Rd.
                           Leander, TX 78641



                           Derek Boyls & Laura Boyls
                           3700 CR 258
                           Liberty Hill, TX 78642



                           Elev8 Builders
                           2121 Lohmans Crossing Rd. 504-295
                           Austin, TX 78734



                           Enertech Builders
                           3915 Crawford Rd.
                           Austin, TX 78669



                           Eppright Homes LLC
                           13301 Galleria Crir B-175
                           Bee Cave, TX 78738



                           Frank A Ward
                           600 W Round Rock Dr. Ste705
                           Round Rock, TX 78681
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                           Glen Screw Custom Homes
                           11701 FM 2244 Ste 201
                           Austin, TX 78738



                           Grandview Custom Homes, LLC
                           Attn. Taylor O'Brien
                           900 Ranch Road 620 South
                           Ste C-101-213
                           Austin, TX 78734

                           Humana Health
                           PO Box 4612
                           Carol Stream, IL 60197-4612



                           Infinity Insurance
                           11700 Great Oaks Way #450
                           Alpharetta, GA 30022



                           J5 Construction
                           3108 Thousand Oaks Dr.
                           Austin, TX 78746



                           Jason Walker
                           Andrews Myers
                           1885 Saint James Pl. 15th Fl
                           Houston, TX 77056


                           Lance M. Musslewhite
                           1108 Remington
                           Leander, TX 78641



                           Matt Rygg
                           Matt Rygg Homes, LLC
                           119 Victorian Gable
                           Driftwood, TX 78619


                           Mezger Homes
                           4131 Spicewood Springs Rd. C7
                           Austin, TX 78759
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                           MORSCO
                           100 East 15th St. Ste. 200
                           Fort Worth, TX 76102



                           Prestige Custom Homes
                           PO Box 340939
                           Lakeway, TX 78734



                           Ray Tonjes Builder
                           12401 Hymeadow Dr. #1A
                           Austin, TX 78750



                           Roger Gonzalez
                           2230 CR 274
                           Bertram, TX 78605



                           Seven Custom Homes
                           1921 Lohmans Crossing Rd. #100
                           Austin, TX 78734



                           Spectrum Charter
                           PO Box 60074
                           City of Industry, CA 91716-0074



                           T. Locke Construction LLC
                           705 Walsh Hill Trail
                           Cedar Park, TX 78613



                           Texas Plumbing Supply
                           9333 S. Sam Houston Pkwy W
                           Ste. 400
                           Missouri City, TX 77489


                           Tom Hobbs Co.
                           Austin, TX 78733
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                            Travis Creek Homes
                            PO Box 342076
                            Austin, TX 78734



                            Travis J. Phillips
                            Attorney at Law
                            507 West 10th St.
                            Austin, TX 78701


                            TXU Energy
                            PO Box 650638
                            Dallas, TX 75265-0638



                            Valerie Garza
                            611 Beverly Ln
                            Leander, TX 78641



                            VII Custom Homes
                            1921 Lohman's Crossing #100
                            Austin, TX 78734



                            Vintage Builders
                            2802 Flintrock Trace
                            Lakeway, TX 78738



                            Williamson Co. Tax Assessor
                            904 S. Main St.
                            Georgetown, TX 78626



                            Winston Water Cooler Supply
                            5100 TX-276
                            Royse City, TX 75189



                            Winston Water Cooler Supply
                            PO Box 734472
                            Dallas, TX 75373
